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EXHIBIT D

 

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Dear Honorable Judge Bell,

l have let down myself, my family, my God and my country. I did something dishonest and even
Worse, l Was a coward and tried to run from the problem. IWas not thinking clearly because of all
the drugs l Was taking. If there is anything good that has come from this, it is that I am no longer on
the drugs. I just Wanted to Work because that is What makes me feel like l am Worth something lt
Was so hard for me not to Work. There is no shame in Working but there is shame in lying and l
fooled myself into thinking that it Was ok to lie because I could keep Working. I regret it every day
and Will do everything I can to try to make it up to all of those things l have let down.

Sincerely,

d §abloZ Fi§rro

